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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    (RICHMOND DIVISION)

   GOLDEN BETHUNE-HILL, et al.,

                  Plaintiffs,

          v.
                                                 Civil Action No. 3:14-cv-00852-REP-GBL-BMK
   VIRGINIA STATE BOARD OF
   ELECTIONS, et al.,

                  Defendants.


                  DEFENDANT-INTERVENORS’ PRETRIAL DISCLOSURES

          Defendant-Intervenors the Virginia House of Delegates and Virginia House of Delegates

   Speaker William J. Howell (“Defendant-Intervenors”), through their counsel, and pursuant to

   Rule 26(a)(3) of the Federal Rules of Civil Procedure, and the Initial Pretrial, Scheduling, and

   Discovery Order entered on March 2, 2015, hereby make their pretrial disclosures as follows:

   I.     Trial Witnesses

          Defendant-Intervenors expect to call the following witnesses at trial:

          1.      Delegate Chris Jones – Mr. Jones is a member of the Virginia House of Delegates
                  and was the architect of the redistricting plan at issue in this proceeding. He will
                  testify about the plan and the 2011 redistricting process.

          2.      Thomas Hofeller – Dr. Hofeller has been designated as an expert witness and will
                  testify about the matters addressed in his expert report.

          3.      Trey Hood – Dr. Hood has been designated as an expert witness and will testify
                  about the matters addressed in his expert report.

          4.      Jonathan Katz – Dr. Katz has been designated as an expert witness and will testify
                  about the matters addressed in his expert report.

          Defendant-Intervenors’ submit this list of witnesses without waiving any of their rights,

   and specifically reserve the right to call any rebuttal or impeachment witnesses and to
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   supplement this list if any listed witness becomes unavailable to testify at trial.

   II.    Proposed Trial Exhibits

          Defendant-Intervenors’ proposed exhibits are attached hereto as Exhibit A.




   Dated: June 22, 2015                      Respectfully submitted,

                                             VIRGINIA HOUSE OF DELEGATES
                                             AND VIRGINIA HOUSE OF DELEGATES
                                             SPEAKER WILLIAM J. HOWELL

                                             By Counsel

                                             /s/ Jennifer M. Walrath
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                                             Virginia House of Delegates Speaker William J. Howell




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 22nd day of June, 2015, the foregoing Defendant-Intervenors’

   Pretrial Disclosures was filed and served on all counsel of record pursuant to the Court’s

   electronic filing procedures using the Court’s CM/ECF system.



                                            /s/ Jennifer M. Walrath
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